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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

    JENNIFER VANDERSTOK; MICHAEL                 §
    G. ANDREN; TACTICAL MACHINING                §
    LLC, a limited liability company;            §
    FIREARMS POLICY COALITION,                   §
    INC., a nonprofit corporation,               §
                                                 §
          Plaintiffs,                            §
                                                 §
    v.                                           §   Civil Action No. 4:22-cv-00691-O
                                                 §
    BLACKHAWK MANUFACTURING                      §
    GROUP INC., doing business as 80             §
    PERCENT ARMS,                                §
                                                 §
          Intervenor Plaintiff,                  §
                                                 §
    v.                                           §
                                                 §
    MERRICK GARLAND, in his Official             §
    capacity as Attorney General of the          §
    United States; UNITED STATES                 §
    DEPARTMENT OF JUSTICE; STEVEN                §
    DETTELBACH, in his official capacity as      §
    Director of the Bureau of Alcohol,           §
    Tobacco, Firearms and Explosives;            §
    BUREAU OF ALCOHOL, TOBACCO,                  §
    FIREARMS, AND EXPLOSIVES,                    §
                                                 §
          Defendants.                            §

                                     SCHEDULING ORDER

         On October 7, 2022, original parties filed a Joint Report Regarding Contents of Scheduling

Order (ECF No. 95).1 Having considered the positions of the parties, and because the instant case




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 In its Reply in support of its Motion to Intervene (ECF No. 97), BlackHawk Manufacturing Group Inc.
d/b/a 80 Percent Arms—not a party at that time—indicated its willingness to comply with the parties’
proposed scheduling order. Reply 4, ECF No. 97.
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involves judicial review of agency action under the Administrative Procedure Act (“APA”), the

Court ORDERS the following tailored schedule.

   I.      CRITICAL DATES

                                                 For intervenors, within 7 days of entry of this
                                                 Order
 Timeline to Amend Pleadings
                                                 Motions for leave to amend due within 21 days
                                                 of Defendants’ answer to amended complaint
                                                 October 24, 2022 (Judge’s copy may be
 Lodging of the Administrative Record
                                                 provided in thumb-drive or CD-ROM format)
 Discovery-Related Motions (e.g., Motions to
                                                 November 14, 2022
 Supplement the Administrative Record)
                                                 Plaintiffs’ Motion for Summary Judgment due
                                                 within 60 days of completion of the
                                                 Administrative Record (including resolution of
                                                 related motions to supplement the record)


                                                 Defendants’ Response & Cross-Motion for
                                                 Summary Judgment due 45 days after
                                                 Plaintiffs’ motion is filed


 Dispositive Motions (Staggered)                 Plaintiffs’ Reply & Response to Cross-Motion
                                                 due 21 days after Defendants’ response and
                                                 cross-motion are filed


                                                 Defendants’ Reply due 21 days after Plaintiffs’
                                                 response is filed


                                                 All other dispositive motions due within 60
                                                 days of completion of the Administrative
                                                 Record

   II.     DISCOVERY

   The Court has considered the parties’ positions regarding the issue of discovery. Plaintiffs ask

for 21 days from the time the record is filed to serve interrogatories, if needed, with Defendants



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having 14 days to respond. Joint Rep. ¶ 8, ECF No. 95. Defendants argue supplementation of the

record via such discovery tools is improper in APA cases unless the moving party demonstrates

“unusual circumstances justifying a departure” from that generally practice. Id. (quoting Medina

Cnty. Env’t Action Ass’n v. Surface Transp. Bd., 602 F.3d 687, 706 (5th Cir. 2010). Plaintiffs

request a hearing to resolve these conflicts. Id. at ¶ 18. Instead, the Court has imposed a deadline

of November 14, 2022 for any motions seeking supplementation of the record. To the degree this

does not resolve Plaintiffs’ concerns with respect to the potential need for discovery, they may

renew their request for a hearing.

   SO ORDERED this 24th day of October, 2022.



                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE




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